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                             EXHIBIT B
Case 1:17-cv-00598-WES-PAS Document 83-2 Filed 12/10/20 Page 2 of 2 PageID #: 393


                                                                                              11.01-5 DOC                     I
                      RHODE ISLAND DEP                       OF CORRECTIONS
                                                                                                                3   ,r f,,t
                                                           ORDER
                                                                                              Attachment                      ¡
                                                                                                Page   l   of   1




Inmate's Name:                     Allen Hanson                    ID #:                   129924

Facility:                               ISC                        Discipline Report #:    357772

Hearing Officer:                    Lt. Paquette                   Date of Hearing        r0l4l20r7

Restitution For:
                     Destroy State Properfy: Search & Seizure (volumes 3&6) $265.60
                     Larn'and Process of Post- Conviction Remedies: case and material $350.89
                     RI General Laws (Volume 2, pa $ IÐ $93.00
                     Scientific Evidence   CV olume 1)   $364.00

'Amount of Restitution          f'otal Amount $1072,60


Your accowrt will be charged the above amount according to RIDOC's Code of Tnmate Discipline
pclicy. You have the right to challenge the reasonableness of the Restitution O¡der. To Challenge this
order, You must submit a written request to the facility Warden / designee.


This challenge does not include the right to obtain and submit additional or competitive estimates.
Challenges must be submitted \¡rithin three (3) working days (Vfonday through Friday; Saturday,
Sunday and holidays excluded, Intake facilities) or five (5) working days (all other facilities).


A copy of this Order will be sent to Tnmate Accounts after 5 days, if not challengq$.

Additional Comments




Inmate Received Restitution Order   on:    W              October 2017
                                                                   Date


Hearing Officer:




Orig. - Tnmate
Copy - Facility Warden
        File

Revised 12102
                                                                                              'Wp
